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                           UNITED STATES DISTRICT COURT
   10
                         CENTRAL DISTRICT OF CALIFORNIA
   11
   12 ELI REALTY INVESTMENTS, LLC, et Case No. 8:22−cv−01195−JWH−ADS
      al.
   13
                 Plaintiff(s),        STANDING ORDER
   14
           v.
   15
      CORCORAN GROUP, LLC, et al.
   16
                Defendant(s).
   17
   18
   19
   20
   21   PLEASE READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

   22       AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

   23
   24   •     If this case was removed to this Court, then the removing Defendant is

   25   DIRECTED immediately to serve this Order on all other parties.

   26   •     Otherwise, Plaintiff is DIRECTED immediately to serve this Order on all

   27   parties.

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   1         This action has been assigned to the calendar of Judge John W. Holcomb.

   2         The Court and the litigants bear joint responsibility for the progress of

   3    litigation in the Federal Courts. To secure the just, speedy, and inexpensive

   4    determination of every action, see Fed. R. Civ. P. 1, all counsel are hereby

   5    ORDERED to become familiar with the Federal Rules of Civil Procedure

   6    and the Local Rules of the Central District of California.

   7         The Court further ORDERS as follows:

   8         1.   Service of the Complaint. Plaintiff shall serve the Complaint

   9    promptly in accordance with Rule 4 of the Federal Rules of Civil Procedure and

   10   shall file the proofs of service pursuant to L.R. 5-3.1.

   11        2.   Removed Actions. Any answers filed in state court must be re-filed

   12   in this Court, either as an exhibit to the Notice of Removal or as a separate filing.

   13   Any pending motions must be re-noticed in accordance with L.R. 6-1.

   14        3.   Assignment to a Magistrate Judge. Under 28 U.S.C. § 636, the

   15   parties may consent to have a Magistrate Judge preside over all proceedings. The

   16   Magistrate Judges who accept those designations are identified on the Central

   17   District’s website, which also contains the consent form.

   18        4.   Electronic Filing. This Court uses an electronic filing system for

   19   documents. Information regarding the Court’s Electronic Case Filing system is

   20   available on the Court’s website at www.cacd.uscourts.gov/cmecf.

   21        All documents required to be e-filed in this matter can be found in General

   22   Order No. 10-07 (as updated and amended) and L.R. 5-4. The Court

   23   specifically directs litigants to L.R. 5-4.3.1, requiring that all electronically filed

   24   documents be created by publishing the document to PDF, and not by scanning

   25   paper documents.

   26        5.   Mandatory Chambers Copies. All original filings are to be filed

   27   electronically pursuant to L.R. 5-4. The Court requires one (1) Mandatory

   28   Chambers Copy of ONLY the following filed documents: motions and related


                                                 −2−
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   1    documents (e.g.,oppositions, replies, exhibits); ex parte applications and related

   2    documents (e.g., oppositions and exhibits); and Joint Rule 26(f) Reports.

   3    Mandatory Chambers Copies shall be delivered to the Courtesy Box, located

   4    outside of Courtroom 9D on the ninth floor of the United States District Court,

   5    411 W. 4th Street, Santa Ana, California 92701, no later than 5:00 p.m. on the

   6    first court day following the e-filing. Alternatively, Counsel may transmit such

   7    conformed copies via FedEx, UPS, or other overnight service, for delivery no later

   8    than 5:00 p.m. on the first court day following the e-filing, addressed to the

   9    Chambers of Judge John W. Holcomb, U.S. District Court for the Central District

   10   of California, Room 9-160, 411 W. 4th Street, Santa Ana, CA 92701. All

   11   Mandatory Chambers Copies shall comply with the document formatting

   12   requirements of L.R. 11-3, except for the blue-backing requirement of L.R.

   13   11-4.1, which is hereby waived. If the filing party and its counsel fail to deliver a

   14   Mandatory Chambers Copy in full compliance with this Order and L.R. 11-3, then

   15   the Court may reschedule any related hearing and impose sanctions.

   16        6. Proposed Orders. Each party filing or opposing a motion or seeking

   17   the determination of any matter shall serve and electronically lodge a proposed

   18   order that sets forth the relief or action sought and a brief statement of the rationale

   19   for the decision with appropriate citations.

   20        7. Presence of Lead Counsel. Lead trial counsel for each party must

   21   attend every status conference, scheduling conference, and pretrial conference set

   22   by the Court. Failure of lead trial counsel to appear for those proceedings is a

   23   basis for sanctions.

   24        8. Discovery. All discovery matters have been referred to a United

   25   States Magistrate Judge. The Magistrate Judge’s initials follow the District

   26   Judge’s initials in the case number assigned to the matter. The words

   27   “DISCOVERY MATTER” shall appear in the caption of all documents relating to

   28   discovery to insure proper routing. Unless the assigned Magistrate Judge explicitly


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   1    waives the Mandatory Chambers Copy rule, Counsel shall deliver Mandatory

   2    Chambers Copies of discovery-related papers to the assigned Magistrate Judge

   3    (rather than to this Court).

   4          9. Motions - General Requirements.

   5              a. Time for Hearing Motions. Motions shall be filed and set for

   6          hearing in person, in Courtroom 9D of the United States District Court

   7          for the Central District of California, located at 411 W. 4th Street, Santa Ana,

   8          California, in accordance with L.R. 6-1. Motions will be heard on Fridays

   9          commencing at 9:00 a.m. Any motion noticed for a holiday may

   10         automatically be set to the next Friday without further notice to the parties.

   11             b. Length and Format of Motions. Memoranda of Points and

   12         Authorities in support of or in opposition to motions shall not exceed 25

   13         pages. Replies shall not exceed 12 pages. Only in rare instances, and for

   14         good cause shown, will the Court grant an application to extend these page

   15         limitations. Wherever possible, cite to Westlaw rather than Lexis.

   16             c. Voluminous Materials. If documentary evidence in support of

   17         or in opposition to a motion exceeds 50 pages, the evidence must be

   18         separately bound and tabbed and include an index. If such evidence exceeds

   19         200 pages, the documents shall be placed in a three-ring binder, with an

   20         index and with each item of evidence separated by a tab divider.

   21             d. Withdrawal of, or Non-Opposition to, Motions. In the event

   22         that the parties resolve a pending motion, they must notify the Court

   23         immediately. Sanctions may issue for failure to comply with this

   24         requirement, or the broader requirement set forth in L.R. 7-16 that any party

   25         who intends to withdraw a motion, not to oppose a motion, or to seek a

   26         continuance of the hearing date for a motion, must notify the Court by

   27         12:00 noon on the Tuesday preceding the hearing date.

   28   \\\


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   1         10. Amended Pleadings. In addition to the requirements of L.R. 15, all

   2    motions to amend pleadings shall (a) state the effect of the amendment; and

   3    (b) identify the page(s), line number(s), and wording of any proposed change or

   4    addition of material.

   5         Parties amending their pleadings for whatever reason−including those

   6    previously dismissed with leave to amend−must file a redlined copy that

   7    compares their amended pleading with their previous pleading. An additional

   8    copy of the redlined pleading shall be provided to Chambers by email at

   9    JWH_Chambers@cacd.uscourts.gov on the same day that the amended

   10   pleading is filed electronically. Handwritten pleadings are the only exception.

   11   When handwritten pleadings are amended, the party shall identify which

   12   paragraphs have been modified in a separate statement. This paragraph

   13   applies equally to complaints, answers, cross-complaints, and supplemental

   14   pleadings. Absent a showing of good cause, failure to comply with this

   15   paragraph will result in the Court striking the amended pleading.

   16        11. Class Actions. Notwithstanding L.R. 23-3, the deadline for the filing

   17   of a motion for class certification will be set during the Scheduling Conference

   18   and/or in a Scheduling Order. If the Court does not expressly set a separate

   19   deadline for the filing of a motion for class certification, then such deadline shall

   20   be the same as the deadline for filing dispositive motions. No request for relief

   21   from L.R. 23-3 is necessary.

   22        12. Motions for Summary Judgment or Partial Summary Judgment.

   23   This Court’s procedures for summary judgment motions differ from those set

   24   forth in Rule 56 and in this Court’s Local Rules. Please read this paragraph

   25                             carefully and comply with it.

   26   No party may file more than one motion pursuant to Rule 56 of the Federal Rules

   27   of Civil Procedure regardless of whether such motion is denominated as a motion

   28   for summary judgment or summary adjudication.


                                                −5−
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   1              a. The Joint Exhibit

   2          Parties must consolidate any exhibits, affidavits, declarations, or other

   3    documents cited as evidence into a single document (the “Joint Exhibit”).¹ If the

   4    file is too large to upload as a single document, then the parties may break it into

   5    two or more files; e.g., Joint Exhibit Part A, Joint Exhibit Part B, and so on.

   6    Whether in a single document or several, the Joint Exhibit should be consecutively

   7    paginated. For example, if the first document (Part A) starts at page 1 and ends at

   8    page 100, then the second document (Part B) should begin on page 101, and so on.

   9    A table of contents, if needed, should be submitted under separate cover.

   10         A recommended format the parties may adopt when citing to the Joint

   11   Exhibit is “Joint Exhibit Part C at 250:3-7 (Deposition of Passenger B),” where:

   12       • “Joint Exhibit Part C” indicates this evidence can be found in the third

   13         document (assuming here that the Joint Exhibit had to be broken up into

   14         multiple documents);²

   15       • “250” represents the page number of the Joint Exhibit where the evidence

   16         can be found;

   17       • “3-7” indicates that the evidence can be found on lines 3 through 7; and

   18       • the parenthetical “Deposition of Passenger B” is a concise, descriptive title

   19         of the underlying source document or evidence being cited.

   20         Parties offering evidence in support of, or in opposition to, a Rule 56 motion

   21   must cite to specific page and line numbers in depositions and paragraph numbers

   22   in declarations and affidavits. If a line number or paragraph number is not available

   23   (e.g., the citation is to a visual image or a handwritten note or some other document

   24   ____________________

   25
        1     The Court excludes non-evidentiary documents on the docket from this
   26   definition; e.g., the complaint, the answer, prior motions, and past orders.
   27   2     If the documents and evidence of the Joint Exhibit can fit as one PDF, then
        there is no need for the suffix “Part A.” The parties would simply cite it as “Joint
   28   Exhibit at 250:3-7 (Deposition of Passenger B).”


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   1    without identifiable lines or paragraph numbers), only then will providing the page

   2    number(s) suffice. Furthermore, such evidence must be authenticated properly.

   3    The Court directs the parties to become familiar with Orr v. Bank of America, NT &

   4    SA, 285 F.3d 764(9th Cir. 2002).

   5             b.    Joint Statement of Undisputed Facts and Genuine Disputes

   6         The moving party’s motion shall also be accompanied by a Joint Statement

   7    of Undisputed Facts and Genuine Disputes (a “Joint Statement”). The parties

   8    must cite to the factual statement set forth in the Joint Statement in their respective

   9    briefs for any fact they wish to identify as a material fact under Rule 56(a).

   10   In turn, the Joint Statement will cite only to the Joint Exhibit. Citations found

   11   in the briefs to any individual exhibits or the Joint Exhibit will be disregarded.3

   12        Prior to filing the motion, the parties shall meet and confer to complete the

   13   Joint Statement. Parties should allow sufficient time and plan accordingly

   14   in view of the deadline for hearing dispositive motions; the process of preparing

   15   the Joint Statement is intensive. Furthermore, the Court will order the parties to

   16   redo any Joint Statement that fails to comply substantially with the instructions

   17   in this Standing Order or that otherwise evinces a lack of thoroughness on behalf

   18   of the parties (e.g., too many frivolous objections; too many redundant factual

   19   statements; improper citations; etc.).

   20   The Joint Statement shall be presented in a table format. An illustrative example

   21   of the Joint Statement is set forth below:

   22
   23
   24
   25
   26
   27   ________________________
        3   Parties are directed to consult the demonstratives in the Appendix of this
   28
        Standing Order for further explication.

                                                 −7−
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   1     No. Proponent    Statement of Fact       Supporting           Opponent’s Response              Proponent’s Reply

   2                                              Evidence


   3    1.   Plaintiff   Plaintiff was driving Joint Exhibit Part Undisputed.
                         her car when she       A at 10, ¶ 2 (Pl.’s
   4
                         went through the       Decl.).
   5                     intersection.

   6
        2.   Plaintiff   The light was green Joint Exhibit Part Disputed. The Light was red
   7                     when Plaintiff went    A at 10, ¶ 4 (Pl.’s when Plaintiff traveled

   8                     through the            Decl.).               through the intersection.
                         intersection.                                Joint Exhibit Part C at 253:3-
   9
                                                                      11 (Def.’s Expert Report).

   10
                         Plaintiff was driving Joint Exhibit Part Disputed. Plaintiff was driving
   11   3.   Plaintiff
                         at 35 miles per hour A at 10, ¶ 7 (Pl.’s 52 miles per hour when she
   12                    when she traveled      Decl.); Joint         went through the intersection.

   13                    through the            Exhibit Part B at Joint Exhibit Part C at 253:11-
                         intersection.          115, ¶ 14 (Report 254:2 (Def.’s Expert Report).
   14
                                                by Pl.’s Expert).
   15
   16   4.   Defendant   Passenger A shouted Joint Exhibit Part Disputed. FRE 802: This                FRE 803(2): This
                         at Plaintiff to stop   C at 25:3-7 (Dep. statement is inadmissible            statement qualifies as a
   17
                         looking at her phone of Passenger B).        hearsay because it is a          hearsay exception
   18                    while she drove                              statement, made by an out-of- because it was an
                         through the                                  court declarant (Passenger A), excited utterance that
   19
                         intersection.                                being offered to support the     occurred moments
   20                                                                 assertion that Plaintiff was     before the crash.

   21                                                                 looking at her phone while
                                                                      driving in the intersection.
   22
   23
   24
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   27
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         No. Proponent Statement of Fact                Supporting             Opponent’s Response           Proponent’s Reply
   1
                                                        Evidence
   2
        5.       Defendant   Defendant is a good Joint Exhibit Part Disputed.
   3
                             driver.             B at 118:23-28
                                                                         (1) Defendant is not a good       (1)(A) Defendant’s
   4                                             (Dep of Def.’s
                                                                         driver. Defendant drove the       friend has unreliable
   5                                             Mother).
                                                                         wrong way on a one-way road memory. Joint Exhibit

   6                                                                     as recently as a year ago. Joint Part C at 202:2-9 (Decl.
                                                                         Exhibit Part C at 204:4-25        of Def.’s Friend).
   7
                                                                         (Decl. of Def.’s Friend).
                                                                                                           (1)(B) Defendant has no
   8
                                                                         (2) FRE 602, 701: The             moving violations on
   9                                                                     supporting evidence is            her official driving

   10                                                                    inadmissible because the          record. Joint Exhibit
                                                                         Defendant’s mother lacks          Part B at 179 (DMV
   11
                                                                         personal knowledge of             record).
   12                                                                    Defendant’s driving. She has
                                                                                                           (2)While Defendant’s
                                                                         not seen Defendant drive in
   13                                                                                                      mother has not seen her
                                                                         two years. Joint Exhibit Part B
   14                                                                                                      drive in two years, she
                                                                         at 117:10-12 (Dep. of Def.’s
                                                                                                           remembers Defendant’s
   15                                                                    Mother).
                                                                                                           driving abilities. Joint

   16                                                                    (3)This statement is not a fact; Exhibit Part B at 116:15
                                                                         it is an opinion.                 (Dep. of Def.’s Mother)
   17
   18
         ...     ...         ...                  ...                    ...                               ...
   19
   20            As demonstrated in the illustration above, the Joint Statement shall include the

   21   following columns:

   22          • The first column shall contain the number of the fact alleged to be

   23            undisputed. Separate parties shall not restart the numbering for their facts.

   24          • The second column shall name the party proposing the statement of fact (the

   25            “Proponent”).

   26          • The third column shall contain a plain statement of the fact. Facts shall not

   27            be compound. For instance, if the opposing party (the “Opponent”) could

   28            respond by asserting that the fact is disputed only in part, then the fact is


                                                                   −9−
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    1          compound. By meeting and conferring, the Court expects the parties to

    2          resolve any instances where compound facts are “disputed in part” by

    3          separating the elements that are disputed from those that are not. Those

    4          elements will form into new, more granular factual statements. Neither legal

    5          arguments nor conclusions constitute facts.

    6        • The fourth column shall contain a citation to admissible evidence that the

    7          Proponent believes supports the proffered fact. If any party fails to provide a

    8          pin cite to the supporting evidence, then the Court will deem the proffered

    9          fact (or dispute) unsupported. See generally Christian Legal Soc. v. Wu, 626

    10         F.3d 483, 488 (9th Cir. 2010) (“Judges are not like pigs, hunting for truffles

    11         buried in briefs.” (quoting Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir.

    12         1994) (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)

    13         (per curiam)) (alteration omitted))). As a rule of thumb, pin citations should

    14         refer to no more than five pages at a time.

    15       • The fifth column shall first identify whether the proffered statement of fact

    16         is disputed or not. The entry must begin with either the word “Disputed”

    17         or “Undisputed.” and include the period.4 If the fact is disputed, then the

    18         Opponent must concisely (1) identify counter-evidence that contradicts or

    19         otherwise disputes the statement of fact, with a brief explanation (a

    20         "factual objection"); (2) make an evidentiary objection grounded in the

    21         Federal Rules of Evidence; or (3) make an objection explaining why the

    22         factual statement does not comport with this Standing Order or other

    23
    24
    25
    26   ____________________
         4     Adding commas, spaces, additional periods, or other extraneous punctuation
    27
         can interfere with Excel’s ability to sort columns. The Court strongly advises
    28   parties to double-check their work before lodging it with the Court.


                                                −10−
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    1         orders from the Court.5 Counter-evidence must include a pin cite to the

    2         record (i.e., a page number and, when available, a line or paragraph

    3         number). If a party attempts to dispute a fact but fails to offer any

    4         counter-evidence, or only offers counter-evidence that falls short of

    5         contradicting the proffered fact, then the Court will deem the fact undisputed

    6         for the purposes of the motion. See Fed. R. Civ. P. 56(e)(2), L.R. 56-3.

    7         Additionally, any evidentiary objection must cite a specific rule and provide

    8         a short rationale or explanation. The Court will disregard “boilerplate

    9         recitations of evidentiary principles or blanket objections without analysis

    10        applied to specific items of evidence.” Doe v. Starbucks, Inc., 2009

    11        WL 5183773, at *1 (C.D. Cal. Dec. 18, 2009); Amaretto Ranch

    12        Breedables v. Ozimals Inc., 907 F. Supp. 2d 1080, 1081 (N.D. Cal. 2012)

    13        (“This Court need not address boilerplate evidentiary objections that the

    14        parties themselves deem unworthy of development.”). For example, simply

    15        asserting that evidence is irrelevant or otherwise lacks foundation−without

    16        any specific and tailored explanation why-will not constitute a proper

    17        evidentiary objection. See Communities Actively Living Indep. &

    18        Free v. City of Los Angeles, 2011 WL 4595993, at *8(C.D. Cal. Feb. 10,

    19        2011) (summarily overruling boilerplate evidentiary objections when

    20        the grounds for the objections were unduly vague and overbroad).

    21        If the Opponent has multiple objections, then the Opponent should number

    22        them (1), (2), (3), and so on.

    23
    24   ____________________
         5     If one party is routinely forced to make objections grounded in the other
    25
         party’s failure to follow instructions (e.g., the Proponent’s factual statement is
    26   compound, fails to include a proper citation, or constitutes a statement of legal
         opinion rather than fact), then the parties are not, in all likelihood, ready to submit
    27   the Joint Statement to the Court. The Court will also factor the offending party’s
         conduct into any award of attorneys’ fees and costs, to the extent that such an
    28   award is within the Court’s discretion.


                                                −11−
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    1        • In the final column, the Proponent may reply to any objections made by the

    2          Opponent. A reply is not strictly necessary. The Court will treat any fact as

    3          disputed only when (1) the Opponent objects as such; (2) the Court deems

    4          the counter-evidence admissible or the evidentiary objection credible; and

    5          (3) the Proponent offers no reply. If the Proponent chooses to respond, then

    6          the Proponent must also (a) identify evidence that rehabilitates its statement

    7          of fact or undermines the Opponent’s counterevidence; (b) make an

    8          evidentiary objection to the counterevidence, citing the specific evidentiary

    9          evidentiary objection to the counterevidence, citing the specific evidentiary

    10         rule and providing a rationale; or (c) explain why the Opponent’s objection is

    11         erroneous. Any further citations to the record must, again, include a pin cite.

    12         If the Opponent makes multiple objections (factual, evidentiary, or

    13         otherwise), then the Proponent should reference the same number when

    14         providing a reply. If the Proponent has multiple replies to any given

    15         objection, then the Proponent should list them as (A), (B), (C), and so on.6

    16   Parties should use Microsoft Excel for the Joint Statement.7 The moving party (or

    17   parties) must transmit the Excel version of the Joint Statement by email to

    18   JWH_Chambers@cacd.uscourts.gov at the time that they file their motion and

    19   must also lodge a PDF version of the Joint Statement on the docket.

    20         13. Ex ParteApplications. Ex parte applications are considered on the

    21   papers, and applicants need not set them for hearing. Counsel are advised that this

    22   Court allows ex parte applications solely for extraordinary relief. Sanctions may be

    23   imposed for the misuse of ex parte applications. See In re Intermagnetics Am., Inc.,

    24
    25
         ____________________
    26   6      See item No. 5 in the illustrative table on page 9 above for an example.
         7      When using Microsoft Excel, parties should not merge cells; they should use
    27
         the alt enter function to create paragraph breaks within a single cell. The parties
    28   may stipulate to using a different program, so long as it facilitates legibility.


                                                −12−
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    1    101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar with

    2    Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

    3    (C.D. Cal. 1995), regarding ex parte applications.

    4         The Court directs Counsel’s attention to L.R. 7-19. The moving party’s

    5    declaration in support of an ex parte application shall show compliance with

    6    L.R. 7-19 and this Order, and it shall include a statement of opposing counsel’s

    7    position. Failure to do so ensures the application will be DENIED. The other

    8    parties’ opposition, or notice of non-opposition (which notice may be provided

    9    telephonically to the Courtroom Deputy Clerk (714-338-4768)), to an ex parte

    10   application is due 24 hours−not the next court day−after the other parties’

    11   receipt of the ex parte application. In view of that 24-hour deadline for opposition

    12   papers, in the absence of a true emergency, the Court takes a dim view of

    13   applicants who file their ex parte applications on Fridays or on the day before a

    14   court holiday. As with all motion papers, counsel must deliver a Mandatory

    15   Chambers Copy in accordance with Paragraph 5 above. Counsel will be notified

    16   by the Courtroom Deputy Clerk of the Court’s ruling, or of a hearing time and

    17   date if the Court determines that a hearing is necessary.

    18        14. Stipulations. Stipulations extending scheduling dates set by this

    19   Court are not effective unless and until approved by the Court. Continuances will

    20   be granted only upon a showing of good cause. The assertion that the parties have

    21   not concluded their discovery efforts does not constitute “good cause.” The

    22   assertion that the parties are not ready for trial does not constitute “good cause.”

    23        15. Communication with Chambers. Unless requested to do so,

    24   counsel shall not attempt to contact the Court or its staff by telephone or by any

    25   other ex parte means. Counsel are directed to review the Central District’s website

    26   at www.cacd.uscourts.gov for the Local Rules, filing procedures, judges’

    27   procedures and schedules, calendars, forms, and Pacer access. Counsel may

    28   contact the Courtroom Deputy Clerk, Elsa Vargas, by telephone at 714-338-4768


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    1    or by email at Elsa_Vargas@cacd.uscourts.gov only in the event that counsel

    2    cannot find the desired information through all available resources.

    3         16. Telephonic and Video Appearances. The Court does not conduct

    4    telephonic hearings. Counsel must request a video appearance for a hearing

    5    through the Courtroom Deputy Clerk, by email at

    6    JWH_Chambers@cacd.uscourts.gov, at least one week before the scheduled

    7    hearing. The Court, in its sole discretion, may order (usually by text entry)

    8    that an in−person hearing shall instead be conducted by video, or vice versa.

    9         17. Bench Trials: Findings and Conclusions. When parties file

    10   proposed findings of fact and conclusions of law pursuant to Rule 52 and L.R. 52-1

    11   & 52-3, the proposed findings and proposed conclusions shall be consecutively

    12   numbered. If, for example, the proposed findings end at paragraph 26, then the

    13   first proposed conclusion shall begin with paragraph 27.

    14           IT IS SO ORDERED.

    15
    16   Dated: June 22, 2022
    17
                                            John W. Holcomb
    18                                      UNITED STATES DISTRICT JUDGE

    19
    20
    21
    22
    23
    24
    25
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